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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

   LEONA VICTORS (EMENYONU),                               *
   ET AL.                                          *
                                                   *
                   v.                              *       Civil No. JFM-07-2282
                                                   *
   WENDY A. KRONMILLER, ET AL.                     *
                                                   *
                                                   *
                                                 *****

                                                 ORDER

       For the reasons stated in the accompanying Memorandum, it is, this 8th day of April

2009

       ORDERED

       1. Counts One and Two are dismissed as to defendant Sadler;

       2. The motion for summary judgment filed by defendant Sadler is granted, and judgment

       is entered in favor of Sadler against plaintiffs;

       3. The motion for summary judgment filed by defendants Kronmiller, Shannon, and

       Wessely is granted, and judgment is entered in favor of Kronmiller, Shannon, and

       Wessely against plaintiffs;

       4. The motion to alter or amend judgment and strike plaintiffs’ surreply, filed by

       defendants Kronmiller, Shannon, and Wessely, is denied as moot; and

       5. Counts Five through Seven are dismissed pursuant to 28 U.S.C. § 1367(c)(3), without

       prejudice to be refiled in state court.


                                                  s/
                                                       J. Frederick Motz
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                           United States District Judge
